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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


PATRICIA KENNEDY,                         :
                                          :
      Plaintiff,                          :
                                          :
      v.                                  :
                                          :
PINE TREE LODGE, LLC,                     :         CIVIL ACTION NO.
                                          :         1:20-cv-2016-AT
                                          :
                                          :
      Defendant.                          :

                                      ORDER

      The parties in this matter notified the Court that they have reached a

settlement and formal documentation is soon to be completed [Doc 19]. The

action therefore need not remain on the Court’s calendar or docket.

      IT IS HEREBY ORDERED that the action is DISMISSED WITHOUT

PREJUDICE to the right of any party, anytime within the next sixty (60) days,

to reopen this action or vacate this order of dismissal.

      It is further ORDERED that the Court retains jurisdiction to vacate this

order of dismissal and to reopen the action, if necessary. If the action has not

been reopened or the Court has not received a motion to vacate on or before the

time permitted by this Order, the action will be dismissed with prejudice.
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SO ORDERED this 31st day of July, 2020.



                             ______________________________
                             Amy Totenberg
                             United States District Judge




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